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                              EXHIBIT F
            Mark Domingo’s Letter to the Court
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 2 of 25 Page ID #:2060




  October 18, 2021
  Your Honor,
  I've spent my whole life trying to find somewhere I belong. I am still searching for that space on Earth to
  this very day. I've always been different from the rest of humanity. You would think this uniqueness
  would have won me a spot at the table of the human race, but it hasn't. This never ending rejection I
  constantly experience made me into the man you see today. Bitter, jaded, pessimistic, and lost.
  I've ended up developing a misanthropy for mankind due to never belonging. On top of that I fell in love
  with a woman (named Silhouette) who I mentally associated with another woman (Rosie) in my past
  that I cannot get over. When it ended with Silhouette, I couldn't cope with losing Rosie again. Coupled
  with my newfound affinity for Islam, I found a group of angry men who hated the world just like me.
  It's been about two years and some change since the crime, and looking at the man on the evidence
  footage, I can honestly say I don't even recognize him. I can understand where he is coming from, but
  his methods and his mentality are alien to me. I felt uncomfortable when I watched the videos in court.
  Not because they made me look bad (which, of course they did), but because I was ashamed and
  embarrassed of my behavior. I feel uncomfortable when I remember that state of mind.
  While in prison I have managed to improve my social skills. I've learned how human friendships are built
  and how to maintain them, a skill I was never allowed to learn in my past. I've learned how my conduct
  in the outside world was not the way a man is supposed to carry himself through life. I've learned that
  innocent people don't need to die just because I am having a bad day.
  To be honest, I am still mad about how people have treated me in the past. But I recognize that being
  angry at people is not going to change the past. And it is not going to make me feel better going
  forward. Instead, I need to find a safe space where I can be comfortable with sharing my emotions and
  learn how to channel my anger in more productive ways. It's the only way that I will be able to move
  forward and live a normal life where I can be happy.
  Thank you for reading this letter and for taking the time over the last couple of years to listen to my
  story.




  Mark Domingo
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                              EXHIBIT G
         Rosalina Domingo’s Letter to the Court
              (Mark Domingo’s Paternal Aunt)
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 4 of 25 Page ID #:2062




  Rosalina Domingo


  October 15, 2021

  Hon. Stephen V. Wilson
  First Street Courthouse
  350 W. 1st Street, Courtroom 10A, 10th Floor
  Los Angeles, CA 90012

  The Honorable Stephen V. Wilson
  United States District Judge:

  My name is Rosalina Domingo. I am a Registered Nurse, BSN. I have been a nurse for almost
  thirty years and worked in varied clinical settings such as acute care, senior care,
  Alzheimer’s/dementia, staff development, Psychiatric and as MDS coordinator, etc. I am Mark
  Domingo’s aunt, sister of his late father. I know Mark very well because he lived with us since
  the day he was born and I helped my mother with his care and upbringing together with my
  sister, Adelfa (deceased) and his Mom.

  I am writing this letter to testify to Mark’s character and to request for leniency in his
  sentencing. Mark is aware that he made a terrible mistake and lapsed in judgment in breaking
  the law. He is ready and willing to accept rehabilitation and probation that will help him return
  to a productive life.

  In the beginning Mark lived with his parents from infanthood to age three in their own home.
  My mother who worked as a hotel supervisor retired early to help care for Mark as both his
  parents were working. During work days my late brother would drop Mark off at our house and
  picked him up at night. When Mark was three and a half years old my brother was diagnosed
  with esophageal cancer stage 4, metastatic to the liver and other major organs. I was with my
  brother when his doctor showed us the CT scan result. Knowing him and Mark would need care
  my brother decided to move his family to my parents’ house while my eldest sister rented their
  house.

  My brother was given four months to live but through chemotherapy he lived eighteen more
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  months. Within that short span my brother enrolled Mark in preschool at Pinecrest four blocks
  from our house. In between his medical appointments and chemotherapy where I drove him
  after my graveyard shift, he picked up Mark and helped him with his homework and preschool
  gymnastics. At the same time Mark’s mother got pregnant and delivered her second child,
  James. On Mark’s fifth birthday my brother made sure Mark had a special celebration at Chuck E
  Cheeses which the kid wanted. Both sides of the family attended. During my brother’s final days
  when he needed to be in the hospital my sister-in-law would bring Mark to the hospital for a
  visit. My brother was so proud of Mark’s art drawings and he would show them to the hospital
  staff and family members.

  Mark was five and a half years old when his father died. The day of his father’s funeral he was
  quiet throughout the service but appeared confused. Only when we were at home during
  funeral reception that it probably dawned on him that his father was never coming back. When
  my sister was looking for him to give him food he was nowhere to be found. We found him after
  searching the whole house in the closet behind the clothes in the laundry room sobbing. My
  sister got him out and cuddled him till he stopped crying.

  With my brother deceased my sister-in-law decided to move back to their house taking Mark
  and James with her. But within six months she and her two sons returned with us as she was
  unable to take care of them by herself emotionally and physically. Financially they have the
  means from my brother’s proceeds.

  Throughout the years the bulk of the care of Mark and his brother James were handled by my
  mother, their grandmother and to some extent by my sister, me and their mother. My sister and
  I helped with his homework, grooming, meals, etc. Together with my eldest brother we attend
  school activities with him. The rest of the family come and visit regularly and assist when
  needed. There were regular family trips to amusement parks and regular gatherings for birthday
  celebrations, holidays and other special occasions.

  Mark’s relationship with his father was a huge part in his early years because my brother doted
  on him. For some reason Mark claimed he does not remember anything about his father. To
  remind him and his brother about their father we tell them what kind of a person he was, his
  character and his exploits so they will have a connection with him. On the other hand Mark’s
  relationship with his mother was not as close compare to his father. This was maybe due to her
  history of depression and anxiety related to postpartum depression and jealousy
  towards the close relationship between Mark and his Dad. His mother seems to favor his little
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  brother to the point where Mark is being ignored by her. It is hard to fathom how a kid would
  feel in that situation. These episodes were not apparent but his brother, James recalls them.

  As a child Mark is quiet with a curious mind. His mind wanders and he is impressionable. When
  he was seven he saw a person on TV with a shaved eyebrow and he shaved his eyebrow as well
  which alarmed my sister for he could have injured himself in the process. That did not happen
  again because he realized he looked funny with shaved eyebrows. His relationship with his
  cousins and schoolmates was normal and unremarkable but most of the time he keeps to
  himself and does his own thing. At home I never heard him complain nor answer back when
  scolded. His exploits growing up were mostly benign. He has a tendency to internalize what he
  feels to the point where when he expresses it the message sounds absurd or offensive. As a
  youth it is difficult to assess what Mark is thinking because he was not articulate and he keeps
  to himself so most of the time he was misunderstood.

  The last two years of his high school was worrisome but those years also showed his resolve and
  perseverance. He was starting to show his independence and some rebellious streaks. It will be
  difficult for me to summarize the details of this episode in his life because I am not privy to all
  the details and it is a story in of itself. Because of this episode Mark was placed in a different
  high school where a ratio of student to teacher was less and the curriculum more personalize
  for the students. The provision was that if he did well with his classes he will be accepted back
  to Cleveland High school. He wanted to go back and graduate at Cleveland with his friends so he
  persevered. He completed his courses months ahead of his classmates and with good grades.
  Cleveland High School accepted him back to finish his senior year of high school. At home he
  was beginning to assert his independence without clashes to my knowledge. Within this period
  we also lost my father to lung cancer and my sister, Adelfa to stroke. These episodes were a
  great lost us and the children as well but we coped.

  During his senior year at Cleveland High School he decided to enlist in the military after high
  school. To facilitate his acceptance in the military he joined the ROTC. There he earned three
  trophies including academic achievement in the process. I advised him to finish college before
  enlisting but he wanted to have a career in the Army starting from the bottom up. Days after
  graduating high school he asked me to drive him to the recruitment office and he enlisted. The
  Marines declined him because of his asthma but the Army accepted him. During this period he
  also learned how to drive and got his driver’s license. I accompanied him to get prescription
  glasses as he needed corrective lens in the Army. He was so excited when I drove him to the
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  airport to leave for his military training.

  During his training and his deployment to Afghanistan he wrote letters whenever he can stating
  how he was doing and feeling homesick. He was able to obtain two short vacations while on
  training one for Christmas holidays and one prior to his deployment. In one of these vacations
  he complained of pain in one of his hips. When I asked what happened he mentioned that one
  or two of his fellow soldiers dragged him out of his bed forcibly which made him hit his hip on
  the floor. He refused to elaborate and dismissed it. While on training he earned one airborne
  stripe.

  When he returned from his discharge from the army he appeared aloof and changed. He started
  using profanities during conversations. He avoided talking about the military. There were
  episodes of outburst and defiance. It occurred to me that he may have symptoms of PTSD but
  he dismissed it. He travelled to Egypt, Nepal and New Zealand to find himself and seek spiritual
  healing. Realizing that he was spending a lot of money travelling he started seeking employment
  and enrolled in community college to keep busy. After securing a stable full time job he decided
  he was not ready for college and put his energy at work. He also found a girlfriend. He
  unofficially adopted two neighborhood stray cats and bought food for them. Since then we
  knew what happened that led to his case.

  While in jail especially during the beginning phase of his incarceration he was reflective and
  verbalizes remorse during phone conversations. He wrote letters from scraps of paper he can
  find in prison asking for forgiveness and saying sorry to everybody for what he did. He tries to
  call to check in on us whenever he can and to reassure us he is ok.

  Mark generally is a caring person, generous to a point where he will take the least amount to
  give somebody the most especially with his brother. He has deep love for his grandmother and
  considers her as a mother figure and very protective of her. He rarely complains and never bad
  mouths anybody. He is straightforward and would prefer to omit rather than lie. But to his own
  character fault he has no filter which contributes to his being misunderstood. He interprets
  situations or conversations differently at times to his own detriment. He is compulsive at times
  and impatient. I find that he absorbs information better in writing than via audio. He has an
  untapped innate artistic talent in drawings and delved in creative writing. He is also good in
  finance especially with his own. With good guidance to steer him in the right path and
  emotional support Mark has a lot of potential to contribute positively to society.
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  Knowing Mark he will never consciously hurt anyone. I was never afraid of him. He never
  expressed physical or other forms of violence with the family or friends. He treated his pet
  guinea pigs like a person and releases lizards that wander in our house back to the garden.
  I believe that the lapse in his judgment in breaking the law was compounded by his emotional
  insecurities and undiagnosed PTSD brought on by his experience with bullying in the army.

  If release on probation Mark expresses interest in pursuing his education, have a stable career
  and start a family. He verbalizes a need to connect with people a pursuit he avoided most of his
  life. Mark is an integral part of our family and he knows we are here for him every step of the
  way. We will help him heal. Your Honor I hope my letter shed a little light on Mark’s behalf. I
  pray that you will be lenient but fair in your judgment and sentencing of him. Attached are
  copies of Mark’s letters written in prison asking for forgiveness. Thank you. I hope for your kind
  consideration.

  For further inquiries you can reach me at


  Sincerely,




  Rosalina Domingo
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                              EXHIBIT H
          Jeff Suministrado’s Letter to the Court
            (Mark Domingo’s Paternal Cousin)
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 10 of 25 Page ID #:2068
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 11 of 25 Page ID #:2069
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 12 of 25 Page ID #:2070




                               EXHIBIT I
            James Domingo’s Letter to the Court
                   (Mark Domingo’s Brother)
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 13 of 25 Page ID #:2071




  James M. Domingo


  October 15, 2021

  The Honorable Stephen V. Wilson
  United States District Judge
  First Street Courthouse
  350 W. 1st Street, Courtroom 10A, 10th Floor
  Los Angeles, CA 90012


  Dear Judge Stephen V. Wilson,

  I am the younger brother of Mark Domingo and his only sibling. I am currently a college
  student and taking a course leading to a bachelor’s degree in accounting.

           Mark and I lost our father (Rodolfo Domingo) when Mark was five years old, and I
  was only one year old. The only things I know about our father was what I was told
  through family, but if there was one thing that is made clear it was that he and my
  brother were extremely close. He worked hard to provide for the family in order to take
  care of me and Mark. He was the one taking care of my brother even while he was
  working due to my mother’s neglect and postpartum depression. Then when my father
  was diagnosed with esophageal cancer, he would do his best to take care of me and
  Mark, even while his health was deteriorating. Since Mark was already five years old
  during the last year of my father, Mark went to a private school (Pinecrest Academy) for
  preschool. Our father takes Mark to school every day, helped him with homework, and
  took him to any extracurricular activities. Our mother shared responsibilities with my
  father, but when it came to matters regarding Mark she usually had nothing to do with it.
  When our father passed away, Mark was hurt the most out of anyone just do to the fact
  that our father was the one he was closest to, and to him there was no one else in the
  world that came close at the time. After my father’s death, my mom, Mark, and I moved
  in with the paternal grandparents, Francisco and Dolores Domingo. My aunts Adelfa
  and Rosalina Domingo along with my cousin, Bobby Suminstrado lived with us too. All
  of them were like loving parents to me and Mark. Bobby was like an older brother to us,
  though Mark’s memories about that might be different. Our mother tried to make up for
  her mistakes, but she had issues with alcohol and substance abuse which affected her
  ability to be the parent she wanted to be. Our mother also suffered from anxiety issues
  and depression due to our father’s death. Mark felt that his grandmother, Adelfa, and
  Rosalina were more loving parents to him than our own mother. Most of his school life is
  unknown to me just due to the fact that he rarely ever talked about it with me.
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          Mark, to me, has always been a caring older brother. Since we were young, he
  looked out for me even when I didn’t know or notice. Even when he was jealous and
  hurt knowing that our mother favored me more than him, he still looked out for me. Yet
  when he isn’t the caring older brother, he is the black sheep of the family. Due to his
  rebellious nature and his want to disobey family rules he wasn’t seen in a good light
  often. While our family loves him and cares for him, it’s due to his nature that didn’t
  allow many of them to grow closer with him though I would like to mention that this
  behavior only really escalated when he returned from his service in the U.S. Army.
  When he was a kid he was relatively quiet and when he was a teen the most he would
  do is something small enough to get our mother angry or worried. It was only when he
  returned from service did his behavior become a bit out of control. My brother went from
  being a quiet kid to someone who felt like he always had to speak his mind. His
  straightforwardness, obnoxious, and tactless way of speaking attributed to further
  distance him from the family that loves and cared for him. While I and a few understood
  this part of him, most people would be offended or even hate the way he spoke. This is
  probably due to the fact that Mark never really learned how to form a normal attachment
  to someone. Yet he loved animals and wouldn’t dare hurt one. When we had our pet
  guinea pigs he was actually afraid to try to pick them up just because he thought he
  might hurt them. He would give food and water to stray cats in our neighborhood and
  never really chase them off.

          Mark and I grew up in a loving and caring family, even if he doesn’t see it that
  way. We were happy growing up but I think Mark felt some loneliness not having a
  father and a mother that he felt didn’t want him. Add that he never really felt like he had
  close friends and later on felt like this family didn’t want him, and you get someone who
  truly feels all alone in the world. This had affected his mental health and overall
  development as a child and greatly affected him as an adult to the point where he
  couldn’t form a normal connection to anyone. He is different from most normal people,
  and that may be the reason why he was ostracized in school and in the Army. He joined
  the U.S. Army after he was rejected by the Marines due to his history with asthma and
  hoped to have a career in the military. He loved his country and went on a tour of duty to
  Afghanistan to serve his country and see the world.


        If I had to say what the reason he got in trouble was, it would be because he
  doesn’t know how to control himself. Looking at my brother now, he suffers from the
  same anxiety and self-esteem issues our mother had. He felt like no one understood
  him, no one favored him, and no one wanted to be with him. Mark thinks himself as
  some sort of outcast that society doesn’t want. That to me would be the major factor of
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  why my brother did what he did. He has always craved for attention and human
  connection which unfortunately got him in the current position he’s in.

         Yet my brother probably won’t do what he did again. Mark is a bit regretful of
  what he has done and the fact that he has missed out on two years’ worth of his life. He
  always calls us just to make sure that we’re okay, especially our Grandma Dolores who
  he wishes to see very much. Even when I could visit him in the detention center during
  this Pandemic, he warned me not to just to make sure I didn’t catch COVID and
  possibly get our family sick. Mark needs to learn how to form normal connections with
  people if he seeks to not be an outcast. He needs to learn how to control his anxiety
  and get higher self-esteem. I’m not sure if there’s a way to treat these depending on
  where he’s going, but no matter the place these are the things he needs treated in order
  to ensure he doesn’t do what he did again.




          Your honor, please help my brother by sending him to a facility that will provide
  for his mental health treatment. Please send him to a facility that will help him acquire
  skills, be productive, and be able to help other. My brother may say something bad, but
  his mouth says what he wants to say without thinking, but he is not a bad person. He
  never wants to truly hurt anyone or living thing. Even if he says he does, I know for a
  fact that he is just blowing hot air due to his inability to control his words when he gets
  anxious. He loves our family, specially grandma and me.

  Thank you very much.

  Sincerely,




  James M. Domingo
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                               EXHIBIT J
         Ann Kampiranond’s Letter to the Court
             (Mark Domingo’s Paternal Cousin)
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 17 of 25 Page ID #:2075




  Ann Kampiranond



  October 14, 2021


  The Honorable Stephen V. Wilson
  United States District Judge
  First Street Courthouse
  350 W. 1sst Street, Courtroom 10A, 10th Floor
  Los Angeles, CA 90012


  Dear The Honorable Stephen V. Wilson:

  I am one of Mark’s older cousins. I am writing to beg for your leniency in the sentencing of my
  cousin. I have known Mark since he was born. We grew up together in a very close-knit family.
  We spent birthdays, vacations and holidays together. His father, Rodolfo Domingo, is my
  mother’s youngest brother. Sadly, Mark has had some trials at such a young age. His mother
  suffered from postpartum psychosis during her pregnancy with Mark and as a result, she was
  unable to bond with him when he was born. His father served as his primary caregiver while his
  mother dealt with the aftermath of childbirth. During the week, he was cared by our
  Grandmother along with our aunts. Mark was a happy toddler and had a very strong bond with
  his father. Sadly, his father passed away when Mark was only 3 years old. His mother, who just
  gave birth to Mark’s younger brother only 9 months before his passing, was unable to cope
  with the difficulties of losing her husband and caring for two young children. My grandmother,
  along with my mother, uncles and aunts did their best to support her, Mark and James during
  this difficult time. Sadly, she never got over these challenges and instead spiraled downhill.
  During this time, our aunt Adelfa took on the daily responsibility of caring for Mark and his
  brother along with our grandmother, Dolores and our other aunt, Rosalina. They bathed them,
  fed them, did homework with them and tucked them into bed. Our uncles, Francisco and
  Renato, stepped in as the father figures who took them to movies, fishing and other fun
  activities. Sadly, our aunt Adelfa passed away when Mark was a teenager.

  I never understood how the severity of these instances can affect someone until I became a
  mother myself. While Mark was surrounded with people who loved and supported him, it
  wasn’t good enough as he never experienced his mother’s love. In addition, he lost his father
  and our aunt, the two people closest to him. He never getting the help he needed to mourn
  these losses also became a factor of who Mark is now as a man. He has lived with mental and
  emotional traumas all his life.
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  The Honorable Stephen V. Wilson
  October 14, 2021
  Page 2

   While I respect the result of the trial and agree that my cousin should be held accountable for
  his actions, I also believe that sending him to prison will not help with his rehabilitation. I
  believe that Mark should be sent to a facility that can help him deal with all he has been
  through. I have hope that with your help Your Honor, Mark can heal from his traumas and
  become a productive member of society. Mark was a great kid that was dealt with heartbreaks,
  please give him a chance to rise above his past and become a better person.

  Thank you for taking the time to read my letter and I appreciate your kind consideration.

  Sincerely,




  Ann Kampiranond
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                               EXHIBIT K
              Kayla Carter’s Letter to the Court
                    (Mark Domingo’s Fiancée)
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 20 of 25 Page ID #:2078




  From: Kayla Carter



  October 14th, 2021

  To: The Honorable Stephen V. Wilson
  United States District Judge

  Dear Judge Wilson,

      My name is Kayla Carter, and I am Mark Domingo’s fiancée. Mark and I first began dating in
  November 2017. We quickly grew very close, and it wasn’t long before we were inseparable.
  We spent every day with each other, and I was able to get to know Mark in a way that most
  people did not. I have been fortunate to learn that despite feeling misunderstood for most of his
  life, Mark is a very altruistic and lionhearted soul.

      Even though Mark grew up without his father and with a mother who failed to guide him
  through life, he remained loyal to his family unit. Mark has always been protective of his loved
  ones, and he is always willing to help them if they’re in need. He was always especially
  concerned about his grandmother’s wellbeing and would check on her first thing when he
  arrived home from work everyday. Mark is also compassionate to animals and became fond of a
  stray cat who visited his yard often. He took on the responsibility of feeding the cat everyday for
  years.

     As a significant other, Mark accepts the role as provider and protector. He has proven to me
  that I can always depend on him to be there for me and keep me safe. He’s very attentive and
  always making sure that I’m happy and content. We would like to have children, and there is no
  doubt in my mind that he would be just as attentive and caring to them as he is to me. He would
  feel immensely proud if he were given the opportunity to be a father and husband.

      Mark hasn’t had anyone to give him the guidance he needed. He has always been
  vulnerable to being led astray. I believe that Mark made this mistake because he was holding
  too much pain inside. I know that he has so much potential to grow into the man he truly wants
  to be. I understand that Mark committed serious crimes and that he needs to be held
  accountable for his actions. I know that with the right guidance and support system behind him,
  this is a mistake that he will never repeat.

      Your honor, I am writing to ask for leniency when considering Mark’s sentence. Mark has the
  potential to have a purposeful future if he is given a second chance. His family and I will be by
  his side to ensure he turns his life around. I genuinely believe that Mark has learned from this
  experience, and that moving forward, he will make positive choices to better himself. Thank you
  for your time.

  Sincerely,




  Kayla Carter
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                               EXHIBIT L
      Francisco Domingo, Jr.’s Letter to the Court
              (Mark Domingo’s Paternal Uncle)
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 22 of 25 Page ID #:2080
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 23 of 25 Page ID #:2081
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 24 of 25 Page ID #:2082




                              EXHIBIT M
            Grace Domingo’s Letter to the Court
              (Mark Domingo’s Paternal Aunt)
Case 2:19-cr-00313-SVW Document 310-1 Filed 10/28/21 Page 25 of 25 Page ID #:2083




  Grace Domingo




  The Honorable Stephen V. Wilson
  United States District Judge

  Re: Request for Leniency in the Sentencing of Mark Domingo


  Dear Judge Stephen V. Wilson,

  I am Mark Domingo’s aunt-in-law, married to his uncle Renato Domingo, brother of Mark’s father
  (Rodolfo Domingo). I am a registered nurse working at UC Irvine Medical Center.

  I am writing to you to make a plea for leniency in the sentencing of Mark Domingo. I know Mark since he
  was born. Spent many family gatherings and vacations with my family and my children who is about
  same age with Mark.
  He grew up as a happy, normal kid fond of video games.
  I noticed disturbed behavior of Mark during high school years. I noticed verbal aggressions but never in
  action. Never violent. He is actually kind hearted and lends a helping hand when I needed some
  assistance. I saw his kindness with animals. He is very gentle with stray cats and took care and gave
  home to guinea pigs. He provided a large cage for them and spent a lot of time and money taking care of
  them for over for 10 years. Even took them to veterinarian when pets got sick. When guinea pigs died
  he was very emotional and gave them burials with presence of his brother and my children.
  He was in a psychiatric unit for sometime during high school because of an incident in school.
  Mark’s behavior is very much different. He has a lot of anger in him that he needs psychiatric
  rehabilitation. I’ve never seen him violent in anyway. Mostly verbal aggressions and profanities.
  I would like to beg you your honor to please send Mark to an institution where he can be helped
  because he has the potential to be rehabilitated and be a productive individual and citizen. Thank you.


  Respectfully,




  Grace Domingo
